Case 6:24-cv-00494-WWB-E_K          Document 20      Filed 04/17/24     Page 1 of 1 PageID 117




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

  MELANIE MEJIA DELSA,

                       Plaintiff,

  v.                                                       Case No.: 6:24-cv-494-WWB-EJK

  EQUIFAX INFORMATION SERVICES
  LLC,

                       Defendant.


                                            ORDER

         The Court has been advised by Plaintiff’s Notice of Settlement that the above-

  styled action has been completely settled. (Doc. 19 at 1).

         Accordingly, pursuant to Local Rule 3.09(b) of the Middle District of Florida, it is

  ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice

  subject to the right of any party, within sixty days from the date of this Order, to move the

  Court to enter a stipulated form of final order or judgment, or, on good cause shown, to

  reopen the case for further proceedings. The Clerk is directed to close this file.

         DONE AND ORDERED at Orlando, Florida on April 17, 2024.




  Copies to:
  Counsel of Record
